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                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY


UNITED STATES OF AMERICA             :      Mag. No. 22-013(SDW)

            v.                       :

JOSEPH SCHWARTZ                      :     UNSEALING ORDER


            This matter having come before the Court upon the application of

the United States of America, by Philip R. Sellinger, United States Attorney (by

V. Grady O’Malley, Sr. Litigation Counsel, appearing) for an order unsealing the

Indictment, arrest warrant and copies thereof, the individual named in the

Indictment has been located and served by federal law enforcement.

            SO ORDERED on this 20TH day of January          2022.


                                         S/André M. Espinosa
                                     HON. ANDRE M. ESPINOSA
                                     UNITED STATES MAGISTRATE JUDGE
